Case 19-15634-amc   Doc 31   Filed 04/30/20 Entered 04/30/20 13:50:45   Desc Main
                             Document     Page 1 of 3
Case 19-15634-amc       Doc 31    Filed 04/30/20 Entered 04/30/20 13:50:45              Desc Main
                                  Document     Page 2 of 3



      mortgage foreclosure action, if any, and to take the necessary action to obtain the
      Mortgaged Premises.

      6.     Additional Respondent is the Standing Trustee appointed in this Chapter 13
      proceeding.

      7.     Debtor has claimed an exemption in the amount of $7,108.00 in the subject
      property.

      8.       Debtor has failed to make all post-petition monthly mortgage payments.

      9.       The defaults include the failure to make the following monthly payments:

               a)     Payments of $1,773.83 from March 1, 2020 through April 1, 2020 which
                      totals $3,547.66;

               b)     The total amount due is $3,547.66

      10.    The Fair Market Value of the Mortgaged Premises is $157,500.00, as per
      Debtor’s Schedules. The approximate amount necessary to payoff the loan is
      $180,391.40 good through April 22, 2020. The breakdown of the payoff is as follows:

           Principal Balance                                                            $149,011.28
           Accrued Interest                                                              $11,175.84
           Escrow Advances made by Plaintiff                                             $12,428.49
           Corporate Advance                                                               $9,425.70
           Suspense Balance                                                              ($1,649.91)

      11.     Movant's interests are being immediately and irreparably harmed. Movant is
      entitled to relief, from the automatic stay, pursuant to either 11 U.S.C. § 362 (d)(1) or
      (d)(2), because of the foregoing default and because:

               a)     Movant lacks adequate protection for its interests in the Mortgaged
                      Premises;

               b)     Debtor does not have any equity in the Mortgaged Premises; and

               c)     The Mortgaged Premises are not necessary to an effective reorganization
                      or plan.

      12.   Movant requests that the Court waive Rule 4001(a)(3), permitting Movant to
      immediately implement and enforce the Court’s order.

      13.     Attached are redacted copies of any documents that support the claim, such as
      promissory notes, purchase order, invoices, itemized statements of running accounts,
      contracts, judgments, mortgages, and security agreements in support of right to seek a lift
      of the automatic stay and foreclose if necessary.
Case 19-15634-amc        Doc 31     Filed 04/30/20 Entered 04/30/20 13:50:45              Desc Main
                                    Document     Page 3 of 3




         WHEREFORE, Movant respectfully moves this Court for an Order (i) granting Movant
relief from the automatic stay to foreclose upon and to otherwise exercise and enforce its rights
with respect to the Mortgaged Premises, (ii) awarding reasonable attorneys' fees incurred in the
preparation and presentation of this motion, and (iii) granting all such other and further relief as
the Court deems appropriate and necessary.

                                                      Respectfully submitted,



Dated: 04/30/2020                                     BY:/s/ Kristen D. Little, Esquire
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